                 Case 2:24-cv-01920 Document 1 Filed 10/15/24 Page 1 of 23



     COMP
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 5   Attorney for Plaintiff
     Vem Miller
 6
                             THE UNITED STATES DISTRICT COURT
 7

 8                                     DISTRICT OF NEVADA

 9

10   VEM MILLER, an individual,
                                                              CASE NO.:
11
                        Plaintiff,
                                                         COMPLAINT FOR DAMAGES
12
     vs.                                                  1. 42 USC §1983
                                                          2. Failure to Train
13
     COUNTY OF RIVERSIDE, a public entity;                3. Municipal Liability Ratification
14   RIVERSIDE COUNTY SHERIFF’S                           4. Supervisor Liability
     DEPARTMENT; SHERIFF CHAD BIANCO, in                  5. Deprivation of Rights
15   his individual and official capacities; DEPUTY       6. Intentional Infliction of Emotional
     CORONADO ID #5731; and DOES 1 through 10,              Distress
16   individually, jointly and severally                  7. Defamation
                                 Defendants.              8. Invasion of Privacy- False Light
17

18                                                        [DEMAND FOR JURY TRIAL]

19

20

21
                                            COMPLAINT

22          COMES NOW, Plaintiff, VEM MILLER, who brings this action by and through the

23   undersigned attorney of record SIGAL CHATTAH, ESQ. of CHATTAH LAW GROUP, and
24   hereby complains and alleges against Defendants as follows:
25




                                                  -1-
                  Case 2:24-cv-01920 Document 1 Filed 10/15/24 Page 2 of 23




                                             INTRODUCTION
 1
             This civil rights action under 42 USC §1983 seeks compensatory and punitive damages
 2

 3   from Defendants for violating various rights under the United States Constitution and state law in

 4   connection with the unlawful seizure and distribution of private information obtained in violation

 5   of Plaintiff’s constitution rights.

 6           This Complaint alleges that police officers employed by the County of Riverside violated
 7   Miller’s First and Fourth Amendment Constitutional rights to privacy and to be free from
 8
     unlawful searches and seizures.
 9
             The evidence will establish that the officers were trained to act in precisely the manner
10
     they acted and, thus, were trained to do precisely the wrong thing. If the officers had been
11
     properly trained in the fundamental principles of search and seizure and safekeeping private
12
     information, this incident would not have happened. In short, the officers’ actions were contrary
13
     to proper police practices. Riverside police practices were diametrically opposed to proper police
14
     procedures, out of synch with the rest of the police profession, malicious, and plainly
15

16   unconstitutional.

17           Riverside police engaged in deliberate and wrongful conduct and compromised police

18   protocol violating Miller’s constitutional rights for the purpose of promoting and engaging in a

19   meritless and gratuitous sensational story.
20
                                       JURISDICTION AND VENUE
21
             1.      This action arises under Title 42 of the United States Code (“U.S.C.,” 42 U.S.C.
22
     §1983 and §1988). Jurisdiction is conferred upon this Court by Title 28 U.S.C §1331.
23
             2.      Venue is proper in the District of Nevada pursuant to 28 U.S.C. §1391(b) because
24
     Plaintiff is a resident of the County of Clark, Nevada, which is within this judicial district.
25




                                                      -2-
                    Case 2:24-cv-01920 Document 1 Filed 10/15/24 Page 3 of 23




                                                      THE PARTIES
 1
              3.       Plaintiff VEM MILLER, (hereinafter, “Miller”; Plaintiff, inter alia) is a resident
 2

 3   of Las Vegas, Nevada, who at all times relevant herein was a member of the press.

 4            4.       Defendant County of Riverside (“Riverside”) is a municipal governmental entity

 5   duly incorporated under the laws of the State of California. Under its authority, Defendant

 6   Riverside County operates the Riverside County Sheriff’s Department (hereinafter “RCSD” inter
 7   alia), and is, and was at all relevant times mentioned herein, responsible for the actions and/or
 8
     inactions and the policies, procedures and practices/customs of the employees of RCSD.
 9
              5.       Defendant CHAD BIANCO, (hereinafter “Bianco”) is and was, at all times
10
     relevant herein, the Sherrif of Riverside County with RCSD. Bianco was personally involved in
11
     the acts that deprived Miller of his particular rights and to be free from deliberate indifference,
12
     causing his damages. Bianco at all relevant times hereto, was acting under color of state law, and
13
     is sued in his individual capacity.12
14
              6.       Defendant Deputy Coronado, (hereinafter “Coronado”) is a police officer with
15

16   Riverside Sheriff’s Office at all times relevant, was employed by the RCSD. Coronado was

17   personally involved in the acts that deprived Miller of his particular rights and to be free from

18   deliberate indifference and caused his damages. Coronado at all relevant times hereto, was acting

19   under color of state law, and is sued in his individual capacity.
20
              7.       Plaintiff is, at the time of the filing of this Complaint, ignorant of the true names
21
     and capacities of Defendants Does I-X, and, therefore sue these Defendants by such fictitious
22
     1  It is significant to note that Defendants RCSD and Bianco have been riddled with claims of inadequate medical
23
     safety, a pattern and practice of negligence, and scrutiny for significant rise in inmate deaths demonstrating a severe
24   lack of oversight within the Department. It is believed that Sheriff Bianco is currently under investigation by
     California Attorney General (California Department of Justice) Rob Bonta for egregious mishandling of the
     Riverside Sheriff’s Department.
25   2
       Defendants’ Department has been identified by the National Police Scorecard as particularly likely to use deadly
     force relative to the number of arrests made.



                                                              -3-
                   Case 2:24-cv-01920 Document 1 Filed 10/15/24 Page 4 of 23




     names. Plaintiff is informed and believes and thereon alleges that Defendants Does I-X were
 1
     employed by the RCSD at the time of the conduct alleged herein. Plaintiff alleges Defendants
 2

 3   Does I-X violated Miller’s civil rights by their deliberate indifference to his privacy and

 4   profession and/or encouraged, directed, enabled and/or ordered other Defendants to engage in

 5   such conduct. Plaintiff will seek leave to amend his Complaint to state the names and capacities

 6   of Defendants Does I-X, when they are identified and ascertained. Does I-X, at all relevant times
 7   hereto, were acting under color of state law, and are sued in their individual capacity.
 8
            8.      Plaintiff alleges that the conduct of each Defendant deprived Miller of his
 9
     constitutional right to privacy and to be free from unlawful searches and seizures.
10
            9.      Each of the Defendants caused, and is responsible for, the unlawful conduct
11
     directed towards Miller. Each of the Defendants, by participating in the unlawful conduct, or
12
     acting jointly and in concert with others who did, authorized, acquiesced, condoned, and
13
     approved the unconstitutional conduct by failing to take action to prevent said unconstitutional
14
     conduct which resulted in the financial ruin, humiliation and destruction of Miller’s life and
15

16   livelihood.

17          10.     Wherever reference is made in this Complaint to any act by Defendants, it is

18   alleged that each Defendant was the agent of the others. Defendants were acting within the

19   course and scope of this agency, and all acts alleged committed by any one of them shall also be
20
     deemed to mean the acts and failures to act of each Defendant individually, jointly or severally.
21
                                     PRELIMINARY STATEMENT
22
            11.     This civil rights action seeks compensatory and punitive damages from
23
     Defendants for violating various rights under the United States Constitution and state law in
24

25




                                                     -4-
                     Case 2:24-cv-01920 Document 1 Filed 10/15/24 Page 5 of 23




     connection with the search and seizure of Plaintiff’s assets, the violations of his right to privacy
 1
     and the willful destruction of his reputation and financial well-being.
 2

 3            12.       This is an action brought under 42 U.S.C. §1983 and the laws of the State of

 4   Nevada, to hold the RCSD, and the COUNTY OF RIVERSIDE, via its policymaker, Defendant

 5   Bianco and others, and two of its officers accountable for their unreasonable, unlawful, malicious

 6   violations of the Plaintiff’s rights.
 7            13.       On October 12, 2024, Plaintiff Vem Miller was in Riverside County to attend a
 8
     rally for Presidential candidate Donald J. Trump at the Coachella Valley festival.
 9
              14.       Miller, a Las Vegas, Nevada resident, was a lawful owner and in lawful
10
     possession of two firearms in his vehicle; a 1) Glock 19 handgun; and 2) shotgun.3
11
              15.       At approximately 15:00 hrs., as Miller approached the 52nd Street parking lot to
12
     enter the parking lot, approximately half a mile away from the venue of the rally, Miller
13
     disclosed to the guarding Riverside County Police Officer that he had two firearms in his vehicle,
14
     he intended to leave in the parked vehicle.
15

16            16.       The Officer flagged Miller to pull his vehicle aside which Miller complied with

17   said order.

18            17.       A second police officer at the scene instructed Miller to get out of his vehicle,

19   which he complied with.
20
              18.       Miller was immediately handcuffed and placed in a RCSD patrol unit vehicle.
21
              19.       Miller disclosed to the officer that he is prediabetic and has a medical condition.
22
              20.       Officer Coronado, requested permission to retrieve the firearms to verify their
23
     serial numbers and Miller’s lawful ownership of same.
24

25   3
      It is significant to note that there is no state permit required to purchase, possess or carry a shotgun, rifle or
     handgun in Nevada. Nevada state law permits open carry.



                                                                -5-
                  Case 2:24-cv-01920 Document 1 Filed 10/15/24 Page 6 of 23




            21.       Officer Coronado then proceeded to conduct an unlawful and unconstitutional
 1
     search of all compartments of the vehicle, retrieving Miller’s personal documentation and other
 2

 3   personal items.

 4          22.       After hours of sitting in the patrol unit, Miller requested to relieve himself, which

 5   he was denied.

 6          23.       At approximately 19:00 hrs., Miller was transported to Thermal Police Station for
 7   agents from Federal Bureau of Investigation and United States Secret Service to interrogate him.
 8
            24.       After 25 minutes of meeting with Officer Coronado, neither agents from the
 9
     Federal Bureau of Investigation or United States Secret Service were interested in interviewing
10
     Miller and departed from Thermal Police Station. Again, neither agents interviewed Miller.
11
            25.       Thereafter, Miller was transported to John Benoit Detention Center arriving at
12
     same at approximately 20:30 hrs.
13
            26.       Miller was released after posting a $5,000.00 bail at approximately 01:30 October
14
     13, 2024 with the following state charges:
15

16   25850(A)     MISD CARRYING/LOADED FIREARM                                  00005000      CITE PC
     32310(A)     MISD LARGE CAPACITY MAGAZINE                                  00005000      CITE PC
17

18          27.       Miller has a January 2, 2025 return date for his first appearance at Indio Larson
19   Justice Center on said charges.
20
            28.       Immediately after Miller’s arrest, Defendant Bianco did not miss an opportunity
21
     to fabricate allegations against Miller, going on numerous news outlets, claiming to have
22
     thwarted a third assassination attempt against Presidential Candidate Donald J. Trump.
23

24

25




                                                       -6-
                     Case 2:24-cv-01920 Document 1 Filed 10/15/24 Page 7 of 23




              29.      Defendant Bianco, knew that Miller was not charged with any wrongdoing
 1
     concerning assassination attempts, and that United States Secret Service and FBI agents even
 2

 3   declined to interview him.

 4            30.      It became clear that Bianco, intentionally, maliciously and with a blatant

 5   disregard for the truth, wanted to create a narrative so as to be viewed as a “heroic” Sheriff who

 6   saved Presidential candidate Trump from a third assassination attempt.
 7            31.      On October 13, 2024, Defendant Bianco conducted press conferences making
 8
     preposterous allegations against Miller including the following:
 9
              •     Miller had multiple fake passports and fake driver licenses with different names;
10
              •     Miller was a member of a sovereign citizens group;
11
              •     The interior of the vehicle was in disarray;
12
              •     Miller showed up with an unlicensed, unregistered vehicle with fake plates;
13

14            •     Weapons and ammunition with all the monstrous red flags of intent to assassinate the

15                  President;

16            •     Miller presented a fake VIP and press passes at the check point; 4
17            •     Bianco prevented another assassination attempt on the President;
18
              32.      Even after being notified by both United States Secret Service and Federal Bureau
19
     of Investigation that they did not believe Miller was a threat and declined to interview him,
20
     Defendant Bianco, continued to make preposterous allegations against Miller, holding press
21
     conferences perpetuating his delusional and false narrative.5
22

23
     4
24     This is perhaps, the most egregious allegation, since Miller was actually provided expedited special entry passes by
     the Trump 47 campaign directly.
     5
       It is also significant to note that Defendant Bianco currently has allegations against him that his department
25   schemed to falsify required reports to California Department of Justice, misclassifying incarcerated who died as
     being sentenced. In 2022 alone, 18 inmates died in the custody of the RCSD, kicking off investigations thereon.



                                                             -7-
                   Case 2:24-cv-01920 Document 1 Filed 10/15/24 Page 8 of 23




            33.      In fact, Miller, a registered Republican in Nevada, is a member of the Clark
 1
     County Republican Party, Central Committee.
 2

 3          34.      During the Nevada GOP 2024, Presidential Caucus, Miller served as a Trump

 4   Caucus Captain.

 5          35.      Miller is informed and thereon believes and alleges that upon realization that none

 6   of the allegations, Defendant Coronado made against him, neither United States Secret Service
 7   or the Federal Bureau of Investigation had any concerns about the veracity of Miller’s
 8
     statements.
 9
            36.      Instead of apologizing to Miller for the false accusations made against him,
10
     Defendant Bianco compounded Defendants; misconduct, perpetuated a boisterous and delusional
11
     narrative that has caused irreparable harm to Miller’s character and reputation.
12
            37.      Defendant Bianco’s acts of holding repeated press conferences perpetuating a
13
     false narrative against Miller continues to shock the conscience and exceed the bounds of
14
     decency.
15

16          38.      As delineated infra, Miller’s acts were protected under the First Amendment

17   Right to Privacy, Free Speech and Right to Petition.

18

19

20
                                       FIRST CLAIM FOR RELIEF
                                             42 USC § 1983
21
                   Violation of First Amendment Right to Privacy, Speech and Petition
22                                          (All Defendants)

23          39.      Plaintiff repeats and realleges all prior paragraphs of this Complaint and

24   incorporates the same by reference herein.

25




                                                     -8-
                  Case 2:24-cv-01920 Document 1 Filed 10/15/24 Page 9 of 23




            40.     A person has a privacy interest in avoiding the public disclosure of personal
 1
     matters. See In re Crawford, 194 F.3d 954, 948-49 (9th Cir. 1999).
 2

 3          41.     Defendants without any legitimate purpose disclosed Miller’s identity, made

 4   preposterous allegations against him, placing him in false light, despite the fact that Miller, had

 5   not committed any crimes associated with the allegations made in nationwide news conferences.

 6          42.     The right to engage in anonymous political conduct is a cornerstone of liberty. See
 7   McIntyre v Ohio Elections Comm’n, 514 U.S. 334, 314-342 (1995) (recognizing that anonymity
 8
     for fear of official retaliation implicates First Amendment concerns and protections).
 9
            43.     The First Amendment protects against the disclosure of associational
10
     memberships absent a compelling state interest. NAACP v. Alabama, 357 U.S 449 (1958);
11
     accord Int’l Bhd. Of Teamsters, Airline Div. v Allegiant Travel Co., No. 2:14-CV-000043-APG,
12
     2014 WL 6069851, at *8 (D. Nev. Nov. 12, 2014)
13
            44.     Accordingly, Defendants and each of them are liable to Plaintiff’s for
14
     compensatory damages.
15

16          45.     Plaintiff also seeks statutory attorney fees and costs under this claim.

17

18

19
                                    SECOND CLAIM FOR RELIEF
20
                                            42 U.S.C. §1983 –
                                             Failure to Train
21
                               (As Against County of Riverside and RCSD)
22
            46.     Plaintiff repeats and realleges all prior paragraphs of this Complaint and
23
     incorporates the same by reference herein.
24

25




                                                     -9-
                    Case 2:24-cv-01920 Document 1 Filed 10/15/24 Page 10 of 23




              47.     The Fourth Amendment to the United States Constitution protects “[t]he right of
 1
     the people to be secure in their persons, houses, papers, and effects, against unreasonable
 2

 3   searches and seizures.” U.S. Const. amend. IV; see also Carpenter v. United States, 138 S. Ct.

 4   2206, 2214 (2018) (“[T]he Amendment seeks to secure ‘the privacies of life’ against ‘arbitrary

 5   power.’” (quoting Boyd v. United States, 116 U.S. 616, 630 (1886))).

 6            48.     It is firmly established that searches or seizures “conducted outside the judicial
 7   process, without prior approval by judge or magistrate, are per se unreasonable under the Fourth
 8
     Amendment—subject only to a few specifically established and well delineated exceptions.”
 9
     United States v. Brown, 996 F.3d 998, 1004 (9th Cir. 2021).
10
              49.     Defendants conducted an unlawful search of all compartments of Miller’s vehicle,
11
     thereafter towing it and holding it in impound in Riverside County thereby depriving him of the
12
     rights and liberties secured to him by the Fourth and Fourteenth Amendments.
13
              50.     RCSD officers routinely deal with search warrants, criminal laws, and probable
14

15
     cause.

16            51.     RCSD officers routinely deal with the requirements of search warrants and the

17   need for probable cause to have said warrants issued.

18            52.     RCSD officers understand the ramifications of engaging in unlawful and

19   warrantless searches and seizures.
20
              53.     RCSD is and at all times has been on notice that they must provide proper training
21
     to its officers obtaining search warrants and issuance of warrants.
22
              54.     RCSD is and at all times has been on notice that it must not publicly disclose
23
     information of private citizens engaged in lawful conduct so as to embarrass and humiliate said
24
     persons.
25




                                                      -10-
                  Case 2:24-cv-01920 Document 1 Filed 10/15/24 Page 11 of 23




            55.     RCSD is further aware of its need to supervise, train, and discipline its officers
 1
     concerning compliance with established police policies, practices and guidelines regarding
 2

 3   safekeeping of evidence seized during the course and scope of an investigation.

 4          56.     RCSD is and has been aware that its officers have engaged in numerous officer

 5   violations involving unconstitutional searches and seizures and warrants issued without probable

 6   cause, which could have been reasonably avoided had its officers employed nationally accepted
 7   police tactics and techniques.
 8
            57.     Yet despite this knowledge RCSD has done nothing to train its officers in such
 9
     nationally accepted police tactics and techniques, to discipline them for their failures, or to hold
10
     them accountable for their gross violations.
11
            58.     RCSD’s custom and practice of turning the other way when officers violate
12
     individual rights, engaging in unlawful searches and seizures, and refusal to discipline involved
13
     officers and/or employ additional training, ensures the likelihood of repeat situations and
14
     continuous violations of the rights of citizens.
15

16          59.     RCSD’s failure to provide proper training represents a policy for which Riverside

17   County is responsible and for which Riverside County is liable.

18          60.     RCSD’s inadequate training demonstrates deliberate indifference on the part of

19   RCSD towards Miller, and others similarly situated, with whom police officers will routinely
20
     come into contact.
21
            61.     In the course and scope of the investigation and dissemination of fabricated
22
     statements about Miller, Defendants Coronado, Bianco and others, either failed to follow their
23
     training or they were improperly trained in how to achieve a complete investigation and ensuring
24
     that Miller’s rights as a citizen remain protected.
25




                                                        -11-
                   Case 2:24-cv-01920 Document 1 Filed 10/15/24 Page 12 of 23




             62.     RCSD’s failure to train and supervise Defendants Bianco and Coronado caused
 1
     the humiliation and economic loss to Miller and was at all times the moving force in Miller’s
 2

 3   humiliation and economic suffering.

 4           63.     As a direct and proximate result of RCSD’s failures, Miller suffered, severe

 5   emotional distress, mental anguish, humiliation and even economic loss as a result of his

 6   interactions with Defendants.
 7           64.     The conduct alleged herein was done in reckless disregard of Miller’s
 8
     constitutionally protected rights; justifying an award of punitive damages as against the
 9
     individually named Defendants.
10
             65.     RCSD’s failure to train Defendants Bianco and Coronado and other DOE officers
11
     resulted in the intentional, reckless, and callous disregard for the life of Miller and his
12
     constitutional rights.
13
             66.     The actions of Defendants Bianco and Coronado were willful, wanton,
14
     oppressive, malicious, and unconscionable to any person of normal sensibilities.
15

16           67.     Accordingly, Defendants and each of them are liable to Plaintiff for compensatory

17   damages.

18           68.     Plaintiff also seeks statutory attorney fees and costs under this claim.

19                                    THIRD CLAIM FOR RELIEF
                                            42 U.S.C. §1983 –
20
                                     Municipal Liability—Ratification
                                     (As Against County of Riverside)
21

22           69.     Plaintiff repeats and realleges all prior paragraphs of this Complaint and

23   incorporates the same by reference herein.

24           70.     A ratification theory may be established in two ways: 1) based on a “pattern” of

25   ratification that constitutes a practice or custom, or (2) based on a single act by an official with




                                                      -12-
                   Case 2:24-cv-01920 Document 1 Filed 10/15/24 Page 13 of 23




     policy making authority.
 1
             71.      Upon information and belief RCSD ratifies all excessive actions of its police
 2

 3   officers.

 4           72.      Policymakers for County of Riverside, have vigorously defended the County’s

 5   police officers for engaging in astonishing manner of action and unlawfully seized information

 6   of Miller and the unlawful malicious misrepresentations about him.
 7           73.      Upon information and belief, policy makers at the RCSD have a custom and
 8
     practice of failing and/or refusing to discipline officers involved in systematically and unlawfully
 9
     seizing evidence and engaging in unconstitutional acts.
10
             74.      Upon information and belief, policy makers at the RCSD have a custom and
11
     practice of improperly and systematically justifying violations of search and seizure rights that
12
     are in fact unjustifiable.
13
             75.      Upon information and belief, policy makers at the RCSD have failed to
14
     thoroughly investigate many of its officer search and seizure violations and have a custom and
15

16   practice of failing to take remedial steps after such violations.

17           76.      Upon information and belief, County of Riverside and RCSD have ratified,

18   condoned, approved, and encouraged the use of warrantless searches and seizures by its officers.

19           77.      County of Riverside was deliberately indifferent to the rights of Miller to be free
20
     from unlawful searches and seizures, and protected from malicious lies in violation of his right to
21
     privacy.
22
             78.      The County of Riverside engaged in the deliberate indifference and misconduct of
23
     its employees.
24

25




                                                      -13-
                     Case 2:24-cv-01920 Document 1 Filed 10/15/24 Page 14 of 23




               79.     As a direct result of the County of Riverside’s longstanding customs and practice
 1
     of deliberate indifference to Miller’s constitutional rights, and rights of others so situated, it was
 2

 3   deliberately indifferent to a substantial risk of serious harm, embarrassment and humiliation of

 4   Miller.

 5             80.     The unlawful and illegal conduct of Defendant County of Riverside, its policies,

 6   procedures, customs, and practices, deprived Miller of the rights, privileges and immunities
 7   secured to him by the Constitution of the United States and federal statutory law.
 8
               81.     As a direct, proximate and foreseeable result, Plaintiff suffered damages in an
 9
     amount according to proof at the time of trial.
10
               82.     Accordingly, Defendants and each of them are liable to Plaintiff for
11
     compensatory damages, punitive damages, and attorney’s fees and costs.
12
                                       FOURTH CLAIM FOR RELIEF
13                                           42 U.S.C. §1983 –
                      Violation of the 4th Amendment of the United States Constitution
14
                                              (All Defendants)
15
               83      Plaintiff repeats and realleges all prior paragraphs of this Complaint and
16
     incorporates the same by reference herein.
17
               84.     Defendants Bianco and Coronado, while acting under the color of the law,
18
     violated Miller’s constitutional rights by unreasonably seizing Miller’s personal property,
19
     fabricating lies and using said information to embarrass and disseminate private information
20
     about him, so as to destroy his livelihood and humiliate him professionally.
21

22             85.     Defendants’ actions violated the constitutional rights guaranteed to Miller by the

23   Fourth and Fourteenth Amendments of the United States Constitution.

24             86.     Defendants’ actions were not made in good-faith and were in violation of clearly

25   established law.




                                                       -14-
                  Case 2:24-cv-01920 Document 1 Filed 10/15/24 Page 15 of 23




            87.        Defendants intentionally, knowingly and with a wanton disregard for Miller’s
 1
     constitutional rights used the media to spin a false and malicious narrative and unlawfully
 2

 3   disclosed and disseminated said information for the purposes of humiliating him and destroying

 4   his livelihood.

 5          88.        Defendants’ actions were unnecessary, unreasonable, unlawful, and unjustified.

 6          As a direct and proximate result of the Defendants’ unreasonable and unlawful actions,
 7   Plaintiff has suffered and continues to suffer substantial past and future damages, both
 8
     compensatory and general, including, but not limited to, loss of income, severe emotional
 9
     distress, mental anguish, embarrassment and humiliation.
10
            89.        Because Defendants’ actions, and possibly other employees, agents, and/or
11
     representatives of the Riverside Police Department, were “motivated by evil motive or intent”
12
     and/or “involve[d] a reckless or callous indifference to the federally protected rights of [the
13
     Plaintiff],” an award of punitive damages is appropriate to the fullest extent permitted by law.
14
            90.        As a direct, proximate and foreseeable result, Plaintiff suffered damages in an
15

16          amount according to proof at the time of trial.

17          91.        Accordingly, Defendants and each of them are liable to Plaintiff for compensatory

18   damages, punitive damages, and attorney’s fees and costs.

19                                       FIFTH CLAIM FOR RELIEF
                                           42 U.S.C. §1983 –
20
                  Failure to Intervene in Violation of the 4th Amendment of the United States
                                                  Constitution
21
                                                (All Defendants)
22
            92.        Plaintiff repeats and realleges all prior paragraphs of this Complaint and
23
     incorporate the same by reference herein.
24

25




                                                       -15-
                    Case 2:24-cv-01920 Document 1 Filed 10/15/24 Page 16 of 23




              93.     The Sheriff of the RCSD is the “policymaker” with respect to RCSD, as a law
 1
     enforcement agency. See e.g., Revene v. Charles County Comm’rs, 882 F. 2d 870, 874 (4th Cir.
 2

 3   1989).

 4            94.     Municipal liability can attach under Monell v. Department of Social Services, 436

 5   U.S. 658 (1978), for even a single decision made by a final policymaker in certain circumstances,

 6   regardless of whether or not the action is taken once or repeatedly. See Pembaur v. City of Case
 7   1:20-cv-00135-TSK 18 Cincinnati, 475 U.S. 469, 481, 106 S. Ct. 1292, 89 L. Ed. 2d 452 (1986).
 8
     If an authorized policymaker approves a subordinate’s decision and the basis for it, such
 9
     ratification would be chargeable to the municipality under Monell. See City of St. Louis v.
10
     Praprotnik, 485 U.S. 112, 127 (1988).
11
              95.     Defendant Bianco, as the chief of police and policymaker for the RCSD has a
12
     custom, pattern, practice, and/or procedure of hiring police officers who he knows have
13
     committed acts of constitutional violations and/or have a propensity to do so.
14
              96.     When these officers inevitably commit acts of violations while working for the
15

16   RCSD, Defendant Bianco would ratify their unconstitutional acts and assist in covering up the

17   officer’s bad actions by charging members of the community, who fall victim to these officers,

18   of crimes.

19            97.     In the instances cited above, no person or law enforcement officer was in
20
     imminent danger and no exigent circumstances existed to engage in such unconstitutional
21
     conduct.
22
              98.     Defendant Bianco had a duty to intervene when Defendants Coronado and others
23
     were violating Miller’s constitutional rights, which resulted in excessive search, unlawful seizure
24
     and humiliation and unmasking of Miller.
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                                                     -16-
                     Case 2:24-cv-01920 Document 1 Filed 10/15/24 Page 17 of 23




              99.      Defendant Bianco observed and/or had reason to know that violation of Miller’s
 1
     rights against unlawful search and seizure were being inflicted without a legitimate goal or
 2

 3   justification.

 4            100.     Defendant Bianco had the opportunity and means to prevent the unlawful search

 5   and seizure and subsequent disclosure of Miller’s information and identity, and/or additional

 6   violations of Miller’s constitutionally protected rights from occurring.
 7            101.     Not only was Defendant Bianco deliberately indifferent to Defendant Coronado
 8
     and others’ unconstitutional searches and seizures, and subsequent actions, he encouraged and
 9
     ratified it.
10
              102.     “The concept of bystander liability is premised on a law officer's duty to uphold
11
     the law and protect the public from illegal acts, regardless of who commits them. An officer may
12
     be liable under § 1983, on a theory of bystander liability, if he: (1) knows that a fellow officer is
13
     violating an individual's constitutional rights; (2) has a reasonable opportunity to prevent the
14
     harm; and (3) chooses not to act.
15

16            103.     As a direct and proximate result of the Defendants’ unreasonable and unlawful

17   actions, Plaintiff has suffered and continues to suffer substantial past and future damages, both

18   compensatory and general, including, but not limited to, loss of income, severe emotional

19   distress, mental anguish, embarrassment, humiliation.
20
              104.     Because the Defendants’ actions, and possibly other employees, agents, and/or
21
     representatives of the RCSD, were “motivated by evil motive or intent” and/or “involve[d] a
22
     reckless or callous indifference to the federally protected rights of [the Plaintiff],” an award of
23
     punitive damages is appropriate to the fullest extent permitted by law.
24

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                                                      -17-
                   Case 2:24-cv-01920 Document 1 Filed 10/15/24 Page 18 of 23




            105.     As a direct and proximate result of the RCSD’s customs, patterns, practices,
 1
     and/or procedures, as stated herein above, the Plaintiff’s rights guaranteed to him by the Fourth
 2

 3   Amendment of the United States Constitution were violated.

 4          106.     As a direct and proximate result of the Defendants’ unreasonable and unlawful

 5   actions, the Plaintiff has suffered and continues to suffer substantial past and future damages,

 6   both compensatory and general, including, but not limited to, loss of income, severe emotional
 7   distress, mental anguish, embarrassment and humiliation.
 8
            107.     Pursuant to Monell v. Department of Social Services of New York, 436 U.S. 658
 9
     (1978), the County of Riverside and the RCSD, through its policymaker, Defendant Bianco (and
10
     possibly other policymakers whose identities are not yet known) are liable for the harms and
11
     losses sustained by Miller.
12
                                     SIXTH CLAIM FOR RELIEF
13                                         42 U.S.C. §1983 –
                       Failure to Train/Negligent Training/Supervision/Retention
14
                                          (As Against RCSD)
15
            108.     Plaintiff repeats and realleges all prior claims for relief of this Complaint and
16
     incorporates the same by reference herein.
17
            109.     Defendants used unlawful means to deprive Miller access to medical care, thereby
18
     depriving him of the rights and liberties secured to him by the Fifth and Fourteenth
19
     Amendments.
20
            110.     RCSD’s failure to train and supervise Defendants caused the humiliation and
21

22   economic loss to Miller and was at all times the moving force in Miller’s humiliation and

23   economic suffering.

24

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                                                     -18-
                   Case 2:24-cv-01920 Document 1 Filed 10/15/24 Page 19 of 23




            111.     As a direct and proximate result of RCSD’s failures, Miller suffered, severe
 1
     emotional distress, mental anguish, humiliation and even economic loss as a result of his
 2

 3   interactions with Defendants.

 4          112.     The conduct alleged herein was done in reckless disregard of Miller’s

 5   constitutionally protected rights; justifying an award of punitive damages as against the

 6   individually named Defendants.
 7          113.     RCSD’s failure to train Defendants resulted in the intentional, reckless, and
 8
     callous disregard for the life of Miller and his constitutional rights.
 9
            114.     The actions of Defendants were willful, wanton, oppressive, malicious, and
10
     unconscionable to any person of normal sensibilities.
11
            115.     Accordingly, Defendants and each of them are liable to Plaintiff for compensatory
12
     damages.
13
            116.     Plaintiff also seeks statutory attorney fees and costs under this claim.
14
                                     SEVENTH CLAIM FOR RELIEF
15
                                            42 U.S.C. §1983 –
16                                          Vicarious Liability
                                     (Against the County of Riverside)
17
           117.      Plaintiff repeats and realleges all prior claims for relief of this Complaint and
18
     incorporates the same by reference herein.
19
            118.     The negligence, carelessness, and wrongful acts of its employees, Defendants, and
20
     other Doe parties, ae imputed to the State of Nevada. The County of Riverside is vicariously
21

22   liable for the negligence, carelessness, and wrongful acts of its employees.

23          119.     The injuries to Miller were caused by the negligence, carelessness, and wrongful

24   acts of DOE Defendants.

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                                                      -19-
                      Case 2:24-cv-01920 Document 1 Filed 10/15/24 Page 20 of 23




               120.     As a direct and proximate result of the negligence, carelessness, and wrongful acts
 1
     of its employees, County of Riverside is liable to each of the Plaintiffs for damages, which
 2

 3   greatly exceed $75,000.00.

 4
                                        EIGHTH CLAIM FOR RELIEF
 5                                 Intentional Infliction of Emotional Distress
                                            (Against All Defendants)
 6
               121.     Plaintiff repeats and realleges all prior paragraphs of this Complaint and
 7
     incorporates the same by reference herein.
 8

 9
               122.     As a direct and proximate result of the Defendants’ unreasonable and unlawful

10   actions, Plaintiff has suffered and continues to suffer substantial past and future damages, both

11   compensatory and general, including, but not limited to, loss of income, severe emotional

12   distress, mental anguish, embarrassment and humiliation.

13             123.     The actions of Defendants against the Plaintiff were carried out with (a) actual
14
     malice and/or (b) a conscious, reckless, and outrageous indifference to the health, safety, and
15
     welfare of others, thereby justifying an award of punitive damages to the fullest extent permitted
16
     by law.
17

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19

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                                         NINTH CLAIM FOR RELIEF
21
                                                  Defamation
22                                          (Against all Defendants)

23             124.     Plaintiff repleads and realleges all of the paragraphs in the preceding Claims for

24   Relief and incorporates the same by reference as if fully set forth herein.

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                                                        -20-
                    Case 2:24-cv-01920 Document 1 Filed 10/15/24 Page 21 of 23




             125.     That Defendants made false statements of fact about Miller and the incidents as they
 1
     occurred on October 12, 2024 blatantly lying about the incident.
 2

 3           126.     That Defendants made unprivileged publication of the statements to members of the

 4   local and national media.

 5           127.     That the statements were made intentionally, negligently, and with a reckless disregard

 6   for the truth or veracity of said statements.
 7           128.     As a result of the false statements, Millers’s reputation was and remains damaged.
 8
             129.     That it has been necessary for Plaintiff to retain the services of legal counsel for
 9
     which Plaintiff is entitled to recover such costs and expenses from Defendant.
10

11                                      TENTH CLAIM FOR RELIEF
                                        Invasion of Privacy- False Light
12                                         (Against All Defendants)

13           130.     Plaintiff repleads and realleges all of the paragraphs in the preceding Claims for
14
     Relief and incorporate the same by reference as if fully set forth herein.
15
             131.     Defendants intentionally, wrongfully and selectively disclosed false facts about
16
     Miller so as to paint a false picture of him regarding the October 12, 2024 incident, severely distorting
17
     the truth and veracity of the events on said day.
18
             132.     Defendants gave publicity to a matter concerning Miller that placed the plaintiff
19
     before the public in a false light.
20
             133.     That the deliberate and malicious portrayal of Miller in false light would be
21

22   highly offensive to a reasonable person.

23           134.     Defendant had knowledge of and acted in reckless disregard as to, the falsity of

24   the publicized matter and the false light in which the plaintiff would be placed.

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                                                         -21-
                    Case 2:24-cv-01920 Document 1 Filed 10/15/24 Page 22 of 23




             135.     That all of Defendant’s acts regarding the dissemination of the disclosed facts
 1
     were done with malice and wanton and reckless disregard for the truth.
 2

 3           WHEREFORE, Plaintiff, Vem Miller, demands judgment against the Defendants for:

 4           a) Compensatory damages for all past and future economic losses and expenses incurred

 5   by the Plaintiff as a result of the Defendants’ misconduct;

 6           b) General damages for all past and future physical pain, mental suffering, and emotional
 7   distress suffered by the Plaintiff;
 8
             c) Punitive damages to the fullest extent permitted by law;
 9
             d) Pre-judgment and post-judgment interest;
10
             e) Declare that the Defendants’ acts, taken in their official capacities, as alleged above,
11
     violate the First and Fourth Amendment to the United States Constitution;
12
             f) Declare that the Defendants’ acts, taken in their individual capacities, as alleged above,
13
     violate the First and Fourth Amendment to the United States Constitution;
14
                          g) Immediately terminate Defendant Coronado employment relationship with
15

16   the RCSD, without severance;

17           h) Enjoin Defendants from engaging in hiring practices that result in the hiring of police

18   officers without proper vetting or review

19           i) Order the Defendants to adopt and implement policies, training, accountability systems,
20
     and practices to remedy the constitutional and statutory violations described herein;
21
             j) Costs incurred in this action and reasonable attorney fees under 42 U.S.C. §1988; and
22
             k) Such other further specific and general relief as may become apparent from discovery
23
     as this matter matures for trial.
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                Case 2:24-cv-01920 Document 1 Filed 10/15/24 Page 23 of 23




                           PLAINTIFF DEMANDS A TRIAL BY JURY.
 1
     Dated this __15th day of October, 2024.
 2

 3                                                    CHATTAH LAW GROUP
 4
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